Case 24-10354-amc                     Doc        Filed 10/28/24 Entered 10/28/24 18:32:50                             Desc Main
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      Fill in this information to identify the case:

      Debtor 1      Jennifer L. Shinn Madden

      Debtor 2
      (Spouse, if filing)

      United States Bankruptcy Court for the: Eastern District of Pennsylvania

      Case number 24-10354-amc




 Official Form 410S2
 Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                             12/16

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in
 the debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the
 bankruptcy filing that you assert are recoverable against the debtor or against the debtor's principal residence.

 File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


    Name of creditor: Santander Bank, N.A.                                        Court claim no. (if known): 4

  Last four digits of any number you use to
  identify the debtor’s account: 8938

  Does this notice supplement a prior notice of
  postpetition fees, expenses, and charges?
           No
           Yes. Date of the last notice: 09/23/2024

  Part 1: Itemize Postpetition Fees, Expenses, and Charges
  Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include
  any escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has
  previously approved an amount, indicate that approval in parentheses after the date the amount was incurred.


    Description                                                                       Dates incurred                             Amount

    1. Late charges                                                                                                    (1)   $ 0.00
    2. Non-sufficient funds (NSF) fees                                                                                 (2)   $ 0.00
    3. Attorney’s fees                                                                                                 (3)   $ 0.00
    4. Filing fees and court costs                                                                                     (4)   $ 0.00
    5. Bankruptcy/Proof of claim fees                                                                                  (5)   $ 0.00
    6. Appraisal/Broker’s price opinion fees                                                                           (6)   $ 0.00
    7. Property inspection fees                                                                                        (7)   $ 0.00
    8. Tax advances (non-escrow)                                                                                       (8)   $ 0.00
    9. Insurance advances (non-escrow)                                                                                 (9)   $ 0.00
  10. Property preservation expenses. Specify:                                                                        (10)   $ 0.00
                                                                       7/13/2024: First Class Mail @$1.87; 7/11/2024:
                                                                           Sale Postponement Motion @$537.50;
                                                                          7/12/2024: E-File Servicing Fee @$72.68
  11. Other. Specify:                                                                                                 (11)   $ 1222.23
                                                                           8/15/2024: Sale Postponement Motion
                                                                       @$537.50; 8/15/2024: E-File Motion @$67.68;
                                                                                E-File Servicing Fee @$5.00
  12. Other. Specify:                                                                                                 (12)   $ 0.00
  13. Other. Specify:                                                                                                 (13)   $ 0.00
  14. Other. Specify:                                                                                                 (14)   $ 0.00

  The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
  See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.

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    Debtor1    Jennifer L. Shinn Madden                                   Case number (if known) 24-10354-amc
               First Name           Middle Name      Last Name




    Part 2: Sign Here
    The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address
    and telephone number.

    Check the appropriate box.

      I am the creditor.
      I am the creditor’s authorized agent. (Attach copy of power of attorney, if any.)



    I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
    knowledge, information, and reasonable belief.

     /s/Andrew Spivack
         Signature
                                                                                  Date 10/18/2024



    Print: Andrew Spivack (84439)
           First Name           Middle Name          Last Name                    Title Attorney



    Company Brock & Scott, PLLC

    Address 3825 Forrestgate Dr.
              Number                     Street


              Winston-Salem, NC 27103
               City         State        ZIP Code


    Contact phone 844-856-6646                                                    Email P A B K R @ b r o c k a n d s c o t t . c o m




Official Form 410S2                        Notice of Postpetition Mortgage Fees, Expenses, and Charges                                        page 2
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                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                       Philadelphia Division


 IN RE:
 Jennifer L. Shinn Madden                             Case No. 24-10354-amc
                                                      Chapter 13
 Santander Bank, N.A.,
        Movant

 vs.

 Jennifer L. Shinn Madden ,
        Debtor




                                   CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that a true and exact copy of the foregoing Notice of
Postpetition Mortgage Fees, Expenses, and Charges has been electronically served or mailed, postage
prepaid on this day to the following:

Via Electronic Notice:

MICHAEL A. CIBIK, Debtor's Attorney
1500 Walnut Street
Suite 900
Philadelphia, PA 19102
help@cibiklaw.com


SCOTT F. WATERMAN [Chapter 13], Bankruptcy Trustee
2901 St. Lawrence Ave.
Suite 100
Reading, PA 19606

Office of United States Trustee, US Trustee
Robert N.C. Nix Federal Building
900 Market Street, Suite 320
Philadelphia, PA 19107


Via First Class Mail:
Case 24-10354-amc        Doc   Filed 10/28/24 Entered 10/28/24 18:32:50     Desc Main
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Jennifer L. Shinn Madden
7146 Cottage St
Philadelphia, PA 19135-1202



Date: October 18, 2024
                                        /s/Andrew Spivack
                                        Andrew Spivack, PA Bar No. 84439
                                        Matthew Fissel, PA Bar No. 314567
                                        Mario Hanyon, PA Bar No. 203993
                                        Ryan Starks, PA Bar No. 330002
                                        Jay Jones, PA Bar No. 86657
                                        Attorney for Creditor
                                        BROCK & SCOTT, PLLC
                                        3825 Forrestgate Drive
                                        Winston Salem, NC 27103
                                        Telephone: (844) 856-6646
                                        Facsimile: (704) 369-0760
                                        E-Mail: PABKR@brockandscott.com
